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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
             v.                                :      Docket No. 3:16-cr-254
                                               :
DAVID KLEPADLO, and                            :
DAVID D. KLEPADLO &                            :
ASSOCIATES, INC.                               :

   SUPPLEMENT TO DEFENDANTS’ SENTENCING MEMORANDUM

      David Klepadlo and David D. Klepadlo & Associates, Inc. (“DDK”), by and

through their counsel hereby respectfully submit this Supplement to Defendants’

Sentencing Memorandum filed on September 27, 2019 (hereinafter “Sentencing

Memorandum”) to provide the Court with updated arguments on outstanding

guideline calculation objections, an updated guideline calculation, updated

financial and medical information, and an additional downward variance argument

related to the COVID-19 pandemic.

      On September 1, 2020, David Klepadlo will appear before the Court

individually and on behalf of DDK to be sentenced on one count of making a

false statement in violation of the Clean Water Act under 33 U.S.C. §

1319(c)(4) and one count of witness tampering under 18 U.S.C. § 1512(c)(2).

       Prior to the COVID-19 pandemic, a term of imprisonment was not the

least restrictive sentence available to sufficiently serve the goals of

sentencing. The comparative sentencing analysis in Defendants’ Sentencing

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Memorandum demonstrates that imprisonment is rarely warranted for a false

statement offense in violation of 18 U.S.C. §1319(c)(4), particularly where

the offense did not result in environmental harm to the adjacent stream. The

Sentencing Memorandum provides twenty-three examples in which courts

imposed non-custodial sentences on similarly situated defendants who were

convicted of making false statements under 18 U.S.C. 1319(c)(4) in

connection with wastewater treatment and manufacturing plants. See Defs.

Sentencing Memo, pp. 25-28. Mr. Klepadlo respectfully submits that prison

sentences are typically reserved for defendants who were convicted of

substantive environmental offenses that resulted in actual environmental

harm. See id.

      In addition to the mitigating evidence that supports a downward

variance as set forth in Mr. Klepadlo’s Sentencing Memorandum, the unique

circumstances posed by the COVID-19 pandemic and Mr. Klepadlo’s

                further necessitate a non-custodial sentence.




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      As of August 27, 109 BOP facilities have active COVID-19 infections,

including several facilities in Pennsylvania and neighboring states where Mr.

Klepadlo could be designated. Most concerningly, every Federal Medical

Center for male offenders and their adjacent Care Level 3 facilities have

active infections and high rates of mortality among inmates who contract the

virus. Because of Mr. Klepadlo’s                       , he could also be

designated to one of these facilities.

       A term of imprisonment would pose an unnecessary risk to Mr.

Klepadlo’s health and safety without furthering, in any meaningful way, the

goals of sentencing under 18 U.S.C. § 3553. Such a punishment would be

excessively punitive in comparison to his offense conduct, the lack of

environmental harm that resulted therefrom, his remorse, and his long history

of law-abiding conduct—both before the offense and in the five years since

he was charged.

      Conversely, imposition of a non-custodial sentence upon Mr.

Klepadlo—who poses no threat to the community and because he voluntarily

surrendered his sewage treatment plant operator’s license cannot and will not

recidivate—is not only wholly consonant with the goals set forth under 18

U.S.C. § 3553, but is also consistent with the letter and spirit of Attorney




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General Barr’s recent memoranda addressing the public health crisis that the

pandemic inflicts on BOP facilities, inmates, and staff.

      For all of the reasons set forth in his Sentencing Memorandum and those set

forth herein, Mr. Klepadlo submits that a substantial downward variance from the

advisory guideline range is warranted and that a non-custodial sentence will

sufficiently serve the goals of sentencing.

     I.     Defendants’ Outstanding Objections to the Guideline
            Calculation in the Presentence Report.

      The Defendants appeared before the late Judge A. Richard Caputo on

September 30, 2019 for a hearing on their guideline objections. Following the

hearing, the Court issued a Memorandum Opinion on October 9, 2019 and held

that USSG § 2Q1.2 is the applicable guideline to Defendants’ Clean Water Act

violation. Though the Defendants respectfully disagree with Judge Caputo’s

interim ruling, they accept that it is the law of the case and that for purposes of this

hearing, USSG § 2Q1.2 is the applicable guideline and 8 is the base offense level.

      The only outstanding dispute with respect to the advisory guidelines range is

the application of the specific offense enhancements under § 2Q1.2(b)(1)(A) and §

2Q1.2(b)(4). Because the substantive environmental offense articulated by Judge

Caputo under § 2Q1.2(b)(5) was Defendants’ failure to collect and analyze

samples at the required frequencies under the permit, an enhancement under §

2Q1.2(b)(1)(A) is not appropriate in this case for the reasons described below.

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However, should the Court find that the government has met its burden and the

enhancement under § 2Q1.2(b)(1)(A) applies, Mr. Klepadlo respectfully submits

that a two-level reduction to such an enhancement is appropriate under Application

Note 5. With respect to the enhancement under § 2Q1.2(b)(4), Mr. Klepadlo

withdraws his objection to its application with the caveat that a two-level reduction

under Application Note 8 is appropriate as described below.

       A.    A six-level enhancement under USSG § 2Q1.2(b)(1)(A) is
             not warranted.

              1.   An enhancement under (b)(1)(A) is not
                   appropriate in this case.

      A six-level specific offense enhancement under USSG § 2Q1.2(b)(1)(A)

applies when an offense “resulted in an ongoing, continuous, or repetitive

discharge, release, or emission of a hazardous or toxic substance or pesticide into

the environment.” This enhancement is most often applied in cases where the

defendant is convicted of illegally discharging pollutants under 33 U.S.C.

1319(c)(2) and similar substantive environmental violations involving the illegal

release of pollutants into the environment in an ongoing and repetitive manner.

See, e.g., United States v. West Indies Transport, Inc., 127 F.3d 299 (3d Cir. 1997)

(raw untreated sewage repeatedly discharged directly into the bay in violation of

1319(c)(2)(A)).




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      Sewage treatment plants are designed to legally discharge pollutants on an

ongoing and repetitive manner in permitted amounts. The government has

conceded that it has no proof that Defendants illegally discharged pollutants as a

result of the criminal conduct. See Tr. Objections Hearing, p. 11 (Sept. 30, 2019)

(“I would say it’s impossible to know if things were being discharged illegally.”).

Thus, every treatment plant in the country would, if the government is correct, be

subject to this enhancement, no matter what the count of conviction is.

      That Mr. Klepadlo pled guilty to a false statement offense under 33 U.S.C. §

1319(c)(4), and not to a substantive environmental offense, highlights this

anomalous result. As Judge Caputo found, Defendants’ conduct reflected an

“effort to conceal” instances when the actual testing was not done. Defendants’

offense was not an attempt to conceal illegal or excessive discharges. While

Defendants concede that there were instances of ammonia exceedances (the

hazardous substance underlying the application of § 2Q1.2), Defendants reported

those exceedances in the test results submitted to the DEP and the government has

not proffered any evidence that these exceedances were caused by Defendants’

recordkeeping offense or failure to collect samples at the specified frequencies as

required under the permits.

      Without some showing that a pollutant was released because of Mr.

Klepadlo’s violations, this enhancement is not appropriate. Cf. United States v.


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Chau, 293 F.3d 96, 100 (3d Cir. 2002) (asbestos released as a result of defendant’s

illegal removal of asbestos in violation of the Clean Air Act); United States v.

Smith, 629 Fed. App’x 292 (3d Cir. 2015) (same). Based on the foregoing, the

government has not demonstrated by a preponderance of the evidence that an

enhancement under 2Q1.2(b)(1)(A) applies.


              2.   Alternatively, a two-level reduction is
                   appropriate if the Court finds that an
                   enhancement applies under USSG §
                   2Q1.2(b)(1)(A).
      In recognition that § 2Q1.2(b)(1)(A) encompasses a “wide range” of conduct

and varying propensities, the Guideline instructs courts to consider reducing the

six-level enhancement by two levels depending on the harm resulting from the

contamination, the nature of the pollutant, the duration of the conduct, and the risk

associated with the violation. See USSG § 2Q1.2 n.5.

      For example, a six-level enhancement may be appropriate in cases where the

defendant knowingly dumped untreated sewage into a body of water, causing harm

to the environment. See, e.g., United States v. Mcclain, 2:06-cr-00102-MMB-1

(E.D. Pa., filed Mar. 3, 2006) (wastewater treatment plant superintendent dumped

thousands of gallons of raw sewage and sludge that led to a river); United States v.

Van Dyke, 3:03-cr-00033-1 (N.D. Ind., filed March 12, 2003) (wastewater

treatment plant operator released untreated sewage into a creek and killed


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thousands of fish); United States v. Goldman, 3:02-cr-00563-2 (D. South Carolina,

filed May 22, 2002) (executive illegally discharged wastewater, killing nearly

1,000 fish).

      On the other hand, a two-level reduction is appropriate in cases where illegal

discharges did not result in any environmental harm. See, e.g., United States v.

Spain, 591 F. Supp. 2d 970 (N.D. Ill. 2008) (departing downward two levels where

defendant was convicted of discharging industrial wastewater with abnormally

high or low pH levels but no environmental harm despite risk of harm).

      Between 2013 and 2015, the PADEP collected and analyzed effluent

samples at GTSA and BNSA on several occasions. The effluent samples collected

and analyzed by the PADEP (which were analyzed by Defendants’ expert, Kevin

Long) did not contain levels of pH or Ammonia that would pose a significant risk

to human health or aquatic life in the stream. See Exhibit D. Notably, the

government did not collect any samples from the adjacent receiving streams or

conduct any environmental evaluation during the nearly five-year period while this

case was being investigated or in the past four years since the indictment was

issued. As set forth in Defendants’ Sentencing Memorandum (Sections IV.C.1 &

V.A) and Kevin Long’s expert report attached thereto as “Exhibit D”, there is no

evidence that Defendants’ conduct resulted in environmental harm to the stream.




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      Defendants concede that inattentive oversight of the plant’s operations could

have resulted in harm. While the agencies were justifiably concerned over the

failure of the DDK & Associates 1 to diligently attend to the sampling at these

plants, there was never any serious concern that the company’s failure to do so was

causing actual harm to the waterways. Indeed – there is simply no other inference

to be drawn from the decision by the agencies to forgo an analysis of the stream.

The stream’s health was unaffected by Mr. Klepadlo’s conduct, and the

government has not proffered evidence to prove otherwise. The absence of

environmental harm is a mitigating circumstance that warrants a two-level

reduction to the enhancement under (b)(1)(A), and further supports a non-custodial

sentence.

        B.   Reducing the four-level specific offense enhancement
             under USSG § 2Q1.2(4) by two levels is warranted under
             Note 8.
      A four-level specific offense enhancement under USSG § 2Q1.2(b)(4)

applies when the offense involves “a violation of a permit, or where there was a

failure to obtain a permit when one was required.” USSG § 2Q1.2 n.8. Like the

enhancement under § 2Q1.2(b)(1)(A), an enhancement under § 2Q1.2(b)(4) covers


1
  While the evidence is uncontradicted that it was a DDK & Associates’ employee
(and licensed treatment operator in his own right) who was responsible for
conducting the sampling, Mr. Klepadlo has repeated stated that as the owner of the
firm and as his employer, he is ultimately responsible for causing the test results to
be submitted.
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a wide variety of conduct. Accordingly, Application Note 8 permits courts to

apply a two-level reduction “[d]epending upon the nature and quantity of the

substance involved and the risk associated with the offense.” See id.

         For the reasons set forth herein and in Defendants’ Sentencing

Memorandum in Section IV.C.2, a two-level reduction is warranted because the

quantity of the pollutants and risk involved in Defendants’ conduct were small. Cf.

United States v. Kuhn, 345 F.3d 431, 439-440 (6th Cir. 2003) (granting two-level

reduction because “the environmental harm did not seem to be very great”); United

States v. Bogas, 731 F. Supp. 242, 250 (N.D. Ohio 1990) (two-level reduction

where “the quantity and the risk involved were so small”).

         II.   Updated Guidelines Calculation
         The adjusted offense level for the Clean Water Act violation is 14 and is

calculated as follows:

Base Offense Level under § 2Q1.2:        8
USSG § 2Q1.2(b)(4) enhancement:          +2 (4 minus 2 levels under Note 8)
USSG § 3B1.1(c) Adjustment:              +2
USSG § 3B1.3 Adjustment:                 +2

Adjusted Offense Level =                 142




2
    If the Court finds that an enhancement under USSG § 2Q1.2(b)(1) applies, the
     adjusted offense level is 18 (six levels minus a two-level reduction under Note
     5).

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      Mr. Klepadlo also pled guilty to witness tampering in violation of 18 U.S.C.

§ 1512(c)(2), which carries a base offense level of 14. However, where, as here, a

defendant is convicted of an obstruction offense that is related to the an underlying

offense, two levels are added to the underlying offense, and the group offense level

is determined by applying either the offense level for the underlying offense or for

the obstruction offense, whichever is greater. See USSG § 3C1.1 n.8.

      Here, both offense levels are 14. The adjusted offense level for the Clean

Water Act violation becomes 16 after adding two levels for obstruction under

USSG § 3C1.1 n.8. Accordingly, 16 is the group offense level. The total offense

level should be calculated as follows:

Group Offense Level                                         16
Acceptance of Responsibility under USSG 3E1.1(a)           -2
Acceptance of Responsibility under USSG 3E1.1(b)           -1
Total Offense Level:                                       13

      With a Criminal History Category I, Mr. Klepadlo’s Guideline range is 12-

18 months of imprisonment, or a combination of imprisonment and home

detention. See USSG § 5C1.1(d).


     III. Klepadlo’s Vulnerability to COVID-19 Renders a Custodial
          Sentence a Far Greater Punishment Than Necessary to Serve
          the Goals of Sentencing.

      In addition to the mitigating circumstances that support a downward

variance as set forth in Mr. Klepadlo’s Sentencing Memorandum, the COVID-19


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pandemic coupled with Mr. Klepadlo’s                                      further

necessitate a noncustodial sentence under 18 U.S.C. § 3553(a).

         A.   Mr. Klepadlo is particularly vulnerable to COVID-19




        Under the CDC Guidelines, Mr. Klepadlo is considered an at-risk individual

who should avoid unnecessary interactions with other people and must take extra

precautions when interacting with others.3




               The CDC has specifically designated



3
    People with Certain Medical Conditions, CDC (updated Aug. 14, 2020),
     available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
     precautions/people-with-medical-
     conditions.html#:~:text=People%20of%20any%20age%20with%20the%20follo
     wing%20conditions%20are%20at,COPD%20(chronic%20obstructive%20pulmo
     nary%20disease)

                                         12
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                                                                        , as

underlying conditions that place people of any age at an increased risk of severe

illness or death from COVID-19.4 As a 65-year-old, Mr. Klepadlo’s risk of serious

illness or death is further compounded.5

        At a minimum, contracting COVID-19 is likely to lead to deteriorated health

for Mr. Klepadlo.



         .6




4
    Id.; see also Evidence used to update the list of underlying medical conditions
     that increase a person’s risk of severe illness from COVID-19, CDC (updated
     July 28, 2020), available at https://www.cdc.gov/coronavirus/2019-ncov/need-
     extra-precautions/evidence-table.html; Other Conditions Related to Heart
     Disease, CDC, available at
     https://www.cdc.gov/heartdisease/other_conditions.htm
5
    80% of COVID-19 deaths have been of patients who are 65 year of age and older.
     See Older Adults, CDC (Aug. 16, 2020), available at
     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-
     adults.html
6
    Jolanda Sabatino et al., Impact of cardiovascular risk profile on COVID-19
     outcome, Plos One Journal (Aug. 14, 2020), available at
     https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0237131.
7
    Dr. Haider Warraich, Covid-19 is Creating a Wave of Heart Disease, N.Y. Times
     (Aug. 17, 2020), available at
     https://www.nytimes.com/2020/08/17/opinion/covid-19-heart-disease.html

                                           13
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8
    See Guidance on Short-Term Management of Atrial Fibrillation in Coronavirus
     Disease 2019, Journal of the American Heart Association (June 9, 2020),
     available at https://www.ahajournals.org/doi/10.1161/JAHA.120.017529

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          B.     Mr. Klepadlo faces a high likelihood of contracting
                 COVID-19 if a custodial sentence is imposed.
         As of August 27, 2020, 109 BOP facilities have active confirmed positive

 cases of COVID-19 among inmates and staff, 9 including several facilities with

 minimum securities camps in Pennsylvania and surrounding states where Mr.

 Klepadlo could be assigned. Statistics at these facilities are illustrated in the table

 below.

      Facility         Current       Pending             Previously   Inmate and
                      confirmed     COVID tests           infected    staff deaths
                      infections                      inmates & staff
USP Lewisburg        32             1                 62              N/A
FCI Loretto          9              N/A               59                 N/A
FCI Fairton          5              N/A               107                N/A
FCC Hazelton         2              N/A               12                 N/A
FCC Allentown        4              4                 4                  N/A
FCI Elkton           5              N/A               1,025              9 inmates
FCC Petersburg       99             10                3                  N/A
FCI Cumberland 2                    32                12                 N/A

         If Mr. Klepadlo is sentenced to a term of imprisonment, the BOP may

 designate him to a Federal Medical Center or one of the adjacent Care Level 3

 facilities as a result of



 9
     See COVID-19 Cases, Federal Bureau of Prisons, available at
      https://www.bop.gov/coronavirus/#:~:text=COVID%2D19%20Cases&text=The
      re%20are%201%2C407%20federal%20inmates,attributed%20to%20COVID%2
      D19%20disease. (last visited Aug. 27, 2020).

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                                                                       As of August

 27, every Federal Medical Center for male offenders and their adjacent facilities

 have active positive cases of COVID-19, and several inmates have died at these

 facilities. These statistics are illustrated below.

      Facility          Current       Pending            Previously        Death
                      confirmed      COVID tests           infected
                       infections                      inmates & staff
FCC Butner           9              5                  924             25 inmates
                                                                       and 1 staff
FMC Devens           3              N/A                54              2 inmates
FMC Lexington        2              N/A                225             8 inmates
FMC Rochester        8              7                  2               N/A
FMC Fort Worth 15                   41                 582             12 inmates


          Despite the BOP’s diligent efforts in protecting inmates, the COVID-19

 pandemic poses unique challenges for BOP facilities with respect to detecting

 positive cases and controlling the rate of transmission.10 The inherent conditions in

 prisons—e.g., close quarters, shared bathrooms, frequent introduction of new

 inmates, and daily entry and exit of staff—render the extra precautions that at-risk




 10
      Serial Laboratory Testing for SARS-CoV-2 Infection Among Incarcerated and
      Detained Persons in a Correctional and Detention Facility, CDC (July 3, 2020),
      available at
      https://www.cdc.gov/mmwr/volumes/69/wr/mm6926e2.htm?s_cid=mm6926e2_
      w.

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individuals like Mr. Klepadlo should take nearly impossible to follow.11 In a

Memorandum to the BOP, Attorney General Barr acknowledged that at-risk

inmates like Mr. Klepadlo would be “safer serving their sentences in home

confinement rather than in BOP facilities.” See AG Barr Memo (3/6/20). Indeed,

COVID-19 infections and death rates in BOP facilities are significantly higher than

those of the general population in the United States, as demonstrated by the first

graph below.12




11
     COVID-19 in Correctional and Detention Facilities – United States, February-
     April 2020, CDC Morbidity and Mortality Weekly Report, available at
     https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6919e1-H.pdf.
12
     This chart is a compilation of the BOP’s statistics and is updated daily by the
     Federal Defenders of New York. See BOP-Reported Positive Tests for COVID-
     19 Nationwide, available at https://federaldefendersny.org/ (last visited Aug. 27,
     2020).

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         The full scope of transmission in federal prisons is not known because the

BOP’s statistics are suspected to be significantly underestimated for various

reasons.13 Despite the underestimated statistics, reported positive infections and

deaths in BOP facilities have still increased in recent weeks. As of August 27,

2020, the BOP reports that at least 11,904 inmates and 1,544 staff from its facilities

have contracted COVID-19, and 116 inmates and 1 BOP staff member have died

from the disease.14 The graph below demonstrates the recent rise in COVID-19

infections and deaths in federal facilities based on BOP statistics.15




13
     See, e.g., United States v. Rodriguez, 2020 WL 1627331, at *9 (E.D. Pa. Apr. 1,
     2020) (“The BOP’s reported cases are rapidly growing and almost certainly
     underestimate the true number of infections.”).
14
     See Fed. Bureau of Prisons, BOP: COVID-19 Update, available at
     https://www.bop.gov/coronavirus/index.jsp
15
     See supra n.11.

                                           18
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            C. Mr. Klepadlo’s vulnerability to COVID-19 supports a non-
               custodial sentence.

         In the context of compassionate release petitions and pre-trial detention

hearings, the Department of Justice has recognized the “particularly acute” risk

that custodial sentences pose on individuals who are vulnerable to serious illness

under the CDC Guidelines. In memoranda dated March 26 and April 3, Attorney

General Barr instructed the Bureau of Prisons to transfer at-risk, non-violent

inmates who are unlikely to recidivate to home confinement. See AG Memos,

3.26.20 & 4.3.20. In April, AG Barr also implored all United States Attorney’s

Offices to consider not seeking detention for defendants who are vulnerable to

COVID-19 under the CDC Guidelines, relative to the seriousness of the offense

and the defendant’s flight risk. See AG Barr Memo, 4.6.20.

         Since AG Barr issued his Memorandum to the BOP in March, the BOP has

transferred over 7,500 inmates like Mr. Klepadlo to home confinement, 16 and

federal district courts throughout the country have granted compassionate release

motions filed by inmates with relatively benign conditions, such as hypertension,

because of the risks posed by the pandemic. See, e.g., United States v. Burke, 2020

WL 3000330 (D. Ne. June 4, 2020). The government has even started conceding




16
     See supra n.14.
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that obesity is an “extraordinary and compelling reason” that justifies an inmate’s

release during the pandemic. See, e.g., Exhibit L.

        Mr. Klepadlo exemplifies the type of individual who should not be detained

in a BOP facility under the Attorney General’s recent guidance.

                                           Mr. Klepadlo is particularly vulnerable to

serious illness or death if he contracts COVID-19.

        For the reasons set forth herein and in Defendants’ Sentencing

Memorandum, Mr. Klepadlo’s vulnerability to COVID-19 renders a prison

sentence excessively punitive in comparison to his offense conduct and the lack of

environmental harm that resulted therefrom. Such a punishment would be

inconsistent with the mandate to impose a sentence that is not greater than

necessary to serve the goals of sentencing.

          D.   The COVID-19 pandemic poses additional collateral
               consequences that further support a non-custodial
               sentence under 18 U.S.C. § 3553

        Beginning in March in response to the pandemic, the BOP suspended inmate

visits with family and in-person programming.17 Under these modified operations,

inmates are rarely permitted to leave their cells. BOP facilities are also using




17
     BOP Implementing Modified Operations, Federal Bureau of Prisons, available at
     https://www.bop.gov/coronavirus/covid19_status.jsp

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solitary confinement and transferring minimum security inmates to high security

facilities as mechanisms to control the spread of the virus.18

         These conditions are particularly punitive for Mr. Klepadlo




                            These additional circumstances further support a non-

custodial sentence.

       IV. Updated Financial Information and the Imposition of a Fine




18
     Bureau of Prisons Using Solitary Confinement as a Means to Curb Covid-19
     Contagion, Forbes (July 16, 2020), available at
     https://www.forbes.com/sites/walterpavlo/2020/07/16/bureau-of-prisons-using-
     solitary-confinement-as-a-means-to-curb-covid-19-contagion/#1ea80d22193a;
     see also Otisville Federal Prison Camp is More Like a Higher Security Prison
     in Fight Against Covid-19, Forbes (June 28, 2020), available at
     https://www.forbes.com/sites/walterpavlo/2020/06/28/otisville-federal-prison-
     camp-is-more-like-a-higher-security-prison-in-fight-against-covid-
     19/#62d6a7bbe48a
19
     Physically Distanced but Digitally Connected, Alcoholics Anonymous (May 11,
     2020) available at https://www.aa.org/press-
     releases/en_US/no_page/physically-distanced-but-digitally-connected-the-
     alcoholics-anonymous-message-carries-on-amid-coronavirus-covid-19

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      Accordingly, Defendants respectfully request the Court to waive imposition

of a fine, and instead impose a non-custodial sentence and a period of supervised

release with any special conditions the Court deems appropriate.

     V.     CONCLUSION

      For all the reasons set forth in Defendants’ Sentencing Memorandum and

herein, Mr. Klepadlo respectfully requests that the Court impose a non-custodial

sentence.

                             Respectfully submitted,


/s/ Timothy J. Bergere                       /s/ Mark Sheppard
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Counsel for Defendants                       Counsel for Defendants



Date: August 28, 2020




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                         CERTIFICATE OF SERVICE

      I certify that, on the date provided below, I caused a true and correct copy of

David Klepadlo’s Sentencing Memorandum to be filed electronically via the ECF

system. The same was sent via electronic mail to the following:

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                                             /s/ Meredith Lowry
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Date: August 28, 2020
